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DISTRICT OF MARYLAND 2019 SEP — ~9 Pi >:
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Chambers of 40 rear Lombard Street
Ellen Lipton Hollander aah gsiland 21201
District Court Judge (382-0742
BY ees
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September 9, 2019
_ MEMORANDUM TO COUNSEL
Re: United States of America v. James lan Piccirilli

Criminal No.: SDT-19-00060
Dear Counsel:

As you have undoubtedly noted, the above referenced case has been reassigned to Judge
Stephanie Thacker, who has graciously agreed to assist the Court with its heavy caseload. She
has been designated to handle this case. That decision was made before you indicated that the
case may resolve by way of a guilty plea.

In any event, Judge Thacker is not available to conduct the trial on the date that was
previously scheduled pursuant to my letter of June 28, 2019 (ECF 27). Please contact Judge
Thacker for the scheduling of all further proceedings. She may be reached at 304-347-3516.

Sincerely,

/s/
Ellen Lipton Hollander
United States District Judge

cc: The Honorable Stephanie D. Thacker
